OPINION — AG — **** STATE WITNESS — MILEAGE FEE **** A WITNESS FOR THE STATE IN A CRIMINAL ACTION EXTENDING OVER A PERIOD OF MORE THAN ONE DAY IS ENTITLED TO PAID A MILEAGE FEE FOR EACH MILE ACTUALLY AND NECESSARILY TRAVELED IN GOING TO AND RETURNING FROM THE PLACE OF ATTENDANCE. THIS INCLUDES A SITUATION WHERE A WITNESS HAS TO TESTIFY FOR MORE THAN ONE DAY AND IS REQUIRED TO MAKE A NEW TRIP EACH DAY. (2) A WITNESS FOR THE STATE IN A CRIMINAL ACTION IS ENTITLED TO BE PAID HIS MILEAGE FEE AT THE CONCLUSION OF EACH DAY IN WHICH HIS ATTENDANCE IS REQUIRED. (3) A WITNESS FOR THE STATE IN A CRIMINAL ACTION CAN NOT RECEIVE MILEAGE IN MORE THAN ONE CASE COVERING THE SAME PERIOD OF TIME OR THE SAME TRAVEL. IF SUCH WITNESS TESTIFIES IN MORE THAN ONE CASE IN THE DURATION OF ONE WEEK AND PERFORMS SEPARATE TRAVEL FOR EACH CASE HE IS ENTITLED TO BE MILEAGE FOR SUCH TRIP. IF SUCH WITNESS TESTIFIES IN MORE THAN ONE CASE IN THE DURATION OF ONE WEEK BUT ONLY MAKES ONE TRIP FOR THE ENTIRE WEEK, HE IS NOT ENTITLED TO BE PAID MILEAGE FOR EACH CASE IN WHICH HE TESTIFIES. CITE: 28 O.S. 1970 Supp., 82 [28-82], 28 O.S. 1969 Supp., 81 [28-81] (GARY F. GLASGOW)